Case 6:22-cv-00381-JCB Document 42 Filed 09/08/23 Page 1 of 2 PageID #: 3123




                                   No. 6:22-cv-00381

             Chamber of Commerce of the United States of America,
              Longview Chamber of Commerce, American Bankers
            Association, Consumer Bankers Association, Independent
               Bankers Association of Texas, Texas Association of
                    Business, and Texas Bankers Association,
                                    Plaintiffs,
                                        v.
                   Consumer Financial Protection Bureau and
             Rohit Chopra, in his official capacity as Director of the
                     Consumer Financial Protection Bureau,
                                   Defendants.


                            F INAL JUDGMENT

               The court declares that the pursuit of any examination, super-
           vision, or enforcement action against any member of a plaintiff
           organization based on the Consumer Financial Protection Bu-
           reau’s interpretation of its UDAAP authority announced in the
           March 2022 update to its Supervision and Examination Manual
           would be unlawful as exceeding statutory authority and as based
           on unconstitutional funding. That update is hereby vacated.
               The court enjoins defendants, their agents, employees, and
           servants, and all persons in active concert or participation with
           them, from any such pursuit described above, provided that this
           order is violated as to a member of a plaintiff organization only if
           the enjoined person is aware of the member’s membership status.
           Such a member may disclose its membership to an enjoined per-
           son to stop any pursuit described above.
               The clerk of court shall enter this document on the docket
           as a final judgment. Fed. R. Civ. P. 58. Attorneys’ fees and costs
           may be moved for after that entry. Fed. R. Civ. P. 54(d).
Case 6:22-cv-00381-JCB Document 42 Filed 09/08/23 Page 2 of 2 PageID #: 3124




                             So ordered by the court on September 8, 2023.



                                            J. C AMPBELL B ARKER
                                           United States District Judge




                                     -2-
